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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

       v.                                             Case No. 21-cr-461 (RCL)

 DEVLYN THOMPSON,

            Defendant.

 GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION FOR COUNSEL TO BE
                     PHYSICALLY PRESENT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully responds to the Defendant’s Motion for Counsel to Be

Physically Present Alongside Him at Sentencing.         That motion requested two things: an order

permitting counsel to be physically present with the defendant at the hearing, and for the

defendant’s mother to be on a separate zoom line at sentencing. When defense counsel asked

government counsel its position prior to filing, she mentioned the former request, but did not ask

government counsel about the latter request.

       To be clear, the government consents to defense counsel’s request to be present with her

client. The government does not consent to non-participants being on separate Zoom lines to the

hearing. Persons with access to the Zoom line can interrupt proceedings on both video and audio

and could prove to be distractions to the proceedings and the participants. The government notes

that the defendant pled guilty remotely from his (prior) attorney at the last hearing.




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                                  Respectfully Submitted,

                                  MATTHEW M. GRAVES
                                  United States Attorney
                                  D.C. Bar No. 481052


                           By:           /s/ Tejpal S. Chawla
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